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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                         Chapter 11
In re:
                                                         Case No. 23-11388 (CTG)
OFF LEASE ONLY LLC, et al., 1
                                                         (Jointly Administered)
                             Debtors.
                                                         RE: Docket Nos. 8 and 82

    NOTICE OF ENTRY OF INTERIM ORDER (I) AUTHORIZING DEBTORS TO PAY
         CERTAIN PREPETITION CLAIMS OF CRITICAL VENDORS AND
                     (II) GRANTING RELATED RELIEF

                   PLEASE TAKE NOTICE that on September 7, 2023, the above-captioned

debtors and debtors in possession (the “Debtors”) each filed a voluntary petition for relief under

chapter 11 of title 11 of the United States Code with the Clerk of the United States Bankruptcy

Court for the District of Delaware (the “Bankruptcy Court”).

                   PLEASE TAKE FURTHER NOTICE that on September 7, 2023, the Debtors

filed the Motion of the Debtors for Entry of Interim and Final Orders (I) Authorizing Debtors to

Pay Certain Prepetition Claims of Critical Vendors and (II) Granting Related Relief [Docket No.

8] (the “Motion”), attached hereto as Exhibit 1.

                   PLEASE TAKE FURTHER NOTICE that on September 15, 2023, the

Bankruptcy Court entered the Interim (I) Authorizing Debtors to Pay Certain Prepetition Claims

of Critical Vendors and (II) Granting Related Relief [Docket No. 82], attached hereto as

Exhibit 2.




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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number (if applicable) are: Off Lease Only LLC (7345), Off Lease Only Parent LLC (2753), and Colo Real Estate
    Holdings LLC (7453). The location of the Debtors’ service address in these chapter 11 cases is 1200 S. Congress
    Ave., Palm Springs, FL 33406.


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                 PLEASE TAKE FURTHER NOTICE that any response or objection to the

entry of a final order with respect to the relief sought in the Motion must be filed with the

Bankruptcy Court on or before September 21, 2023 at 4:00 p.m. (Eastern time).

                 PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE FINAL RELIEF

REQUESTED BY THE MOTION WITHOUT FURTHER NOTICE OR HEARING.

                 PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER

THE FINAL RELIEF SOUGHT IN THE MOTION WILL BE HELD ON SEPTEMBER 26,

2023 AT 9:30 A.M. (EASTERN TIME) BEFORE THE HONORABLE CRAIG T.

GOLDBLATT, UNITED STATES BANKRUPTCY COURT JUDGE, AT THE UNITED

STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 NORTH

MARKET STREET, 3RD FLOOR, COURTROOM NO. 7, WILMINGTON, DELAWARE

19801.

Dated: September 15, 2023                   PACHULSKI STANG ZIEHL & JONES LLP

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                                            James E. O’Neill (DE Bar No. 4042)
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                                            -and-




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                                      Proposed Counsel for the Debtors and Debtors in
                                      Possession




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